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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA


Teresa McClintock,                     )
                                       )
       Plaintiff                       )
                                       )     No.09-5544
       vs.                             )
                                       )
Penncro Associates, Inc.,              )
                                       )
       Defendant.                      )

                       NOTICE OF VOLUNTARY DISMISSAL

TO THE CLERK:

       NOTICE IS HEREBY GIVEN that the above-captioned case has been

DISMISSED with prejudice.



_/s/ Craig Thor Kimmel_______
Craig Thor Kimmel, Esquire
Kimmel & Silverman, PC
30 East Butler Pike
Ambler, PA 19002
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                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 14th day of January 2010, that a copy of the

aforegoing Notice of Voluntary Dismissal was e-filed and sent by regular mail to:

                              RICHARD J. PERR
                      FINEMAN KREKSTEIN & HARRIS, P.C.
                       MELLON BANK CENTER SUITE 600
                              1735 MARKET ST.
                         PHILADELPHIA , PA 19103-7513

                                            ______/s/ Craig Thor Kimmel_____
                                            Attorney for Plaintiff
                                            Craig Thor Kimmel, Esquire
                                            Kimmel & Silverman, PC
                                            30 East Butler Pike
                                            Ambler, PA 19002
